                  Case 12-29246
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In re Robert John Benditzky                                                                      ,                Case No. 12-29246
                        Debtor(s)                                                                                                              (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                               None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
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In re Robert John Benditzky                                                                               ,                  Case No. 12-29246
                         Debtor(s)                                                                                                                               (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                   N            Description and Location of Property                                                    Value
                                                                                                                                                of Debtor's Interest,
                                                  o                                                                         Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                  n                                                                                              Secured Claim or
                                                                                                                               Joint--J
                                                  e                                                                       Community--C               Exemption


1. Cash on hand.                                      Cash on hand                                                                     J                     $250.00
                                                      Location: In debtor's possession


2. Checking, savings or other financial               Checking account - Bank Financial                                                H                     $150.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Location: In bank's possession.
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                   Miscellaneous household goods and furniture                                      J                     $500.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


5. Books, pictures and other art objects,             Miscellaneous used books and family pictures                                     J                     $250.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or             Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                   Miscellaneous men's clothing                                                     H                     $500.00
                                                      Location: In debtor's possession


7. Furs and jewelry.                                  Wedding ring                                                                     H                     $500.00
                                                      Location: In debtor's possession


8. Firearms and sports, photographic, and         X
   other hobby equipment.

9. Interests in insurance policies. Name              Robert Benditzky ILIT                                                            H                 $46,825.00
   insurance company of each policy and
   itemize surrender or refund value of each.         Location: In debtor's possession




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In re Robert John Benditzky                                                                            ,     Case No. 12-29246
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                         (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption

10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other           IRA - Citibank C3007397                                        H         $116,099.00
    pension or profit sharing plans. Give
    particulars.

                                                       Roth IRA - Citibank C30077397                                  H         $116,099.00

                                                       Location: With broker.


13. Stock and interests in incorporated and            100% Membership interest in Envision Equity                    H                     $0.00
    unincorporated businesses. Itemize.
                                                       Group, LLC, which owned 1210 Redwood

                                                       Fractional Real Estate Interests                                                     $0.00
                                                       Debtor owns a 1/3 direct or indirect
                                                       interest in the following (which may not be
                                                       validly organized entities):Trident Equities
                                                       Series LLC (and all cells); Capital B
                                                       Holdings Corporation; and Various land
                                                       trusts
                                                       See Exhibit B 13 for a detailed listing of
                                                       entities and properties such entities owned.
                                                       Location: In debtor's possession


                                                       Global Wind, LLC f/k/a IWT, LLC                                H                     $0.00
                                                       membership interest unknown
                                                       Wind power company that is unable to operate
                                                       due to a lack of capital
                                                       Location: In debtor's possession


                                                       49.5% memebership interest in Helen                            H                     $0.00
                                                       Benditzky, LLC, which is the
                                                       general partner of Helen Benditzky Family
                                                       Limited Partnership,and owns 1% of the Helen
                                                       Benditzky Family Limited Partnership

                                                       Location: In debtor's possession



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In re Robert John Benditzky                                                                               ,     Case No. 12-29246
                         Debtor(s)                                                                                                             (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                                                                                                   Current
               Type of Property                    N               Description and Location of Property                             Value
                                                                                                                              of Debtor's Interest,
                                                   o                                                            Husband--H    in Property Without
                                                                                                                    Wife--W      Deducting any
                                                   n                                                                           Secured Claim or
                                                                                                                   Joint--J
                                                   e                                                          Community--C         Exemption




                                                       membership interest in JB Investments +                           H                     $0.00
                                                       Holdings, LLC
                                                       No assets, no operations. Previously owned
                                                       2 properties which have been foreclosed
                                                       property foreclosed
                                                       Location: In debtor's possession

14. Interests in partnerships or joint ventures.       limited partnership interest in Helen                             H           $80,000.00
    Itemize.
                                                       Benditzky FLP

                                                       Location:    In debtor's possession


15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                               Loan to Rob Baron                                                 H                     $0.00
                                                       Amount of Loan: $70,000.00
                                                       Uncollectable
                                                       Location: In debtor's possession


17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,       Beneficiary of Robert J Benditzky Trust,                          H                     $0.00
    and rights or powers exercisable for the
    benefit of the debtor other than those             which owns the properties listed on Exhibit
    listed in Schedule of Real Property.               B19 attached
                                                       Location: In debtor's possession


20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.




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In re Robert John Benditzky                                                                        ,              Case No. 12-29246
                         Debtor(s)                                                                                                                   (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
                 Type of Property              N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

24. Customer lists or other compilations       X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other        2000 Toyota Camry                                                        H                $4,500.00
    vehicles and accessories.
                                                   Location: In debtor's possession


26. Boats, motors, and accessories.            X

27. Aircraft and accessories.                  X

28. Office equipment, furnishings, and             Used computers, printer and office equipment                             H                    $500.00
    supplies.
                                                   Location: In debtor's possession


29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       4      of    4                                                                                    Total                        $366,173.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
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In re
        Robert John Benditzky                                                                  ,                  Case No. 12-29246
                          Debtor(s)                                                                                                                (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $146,450.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


Cash on hand                                        735 ILCS 5/12-1001(b)                                          $ 250.00                     $ 250.00

Checking account - Bank                             735 ILCS 5/12-1001(b)                                          $ 150.00                     $ 150.00
Financial

Miscellaneous household goods                       735 ILCS 5/12-1001(b)                                          $ 500.00                     $ 500.00
and furniture

Books and family pictures                           735 ILCS 5/12-1001(a)                                          $ 250.00                     $ 250.00

Mens clothing                                       735 ILCS 5/12-1001(a)                                          $ 500.00                     $ 500.00

Jewelry                                             735 ILCS 5/12-1001(b)                                          $ 500.00                     $ 500.00

Robert Benditzky ILIT                               735 ILCS 5/12-1001(f)                                      $ 46,825.00              $ 46,825.00

IRA                                                 735 ILCS 5/12-1006                                       $ 116,099.00              $ 116,099.00

Roth IRA - Citibank                                 735 ILCS 5/12-1006                                       $ 116,099.00              $ 116,099.00

Helen Benditzky Family Limited                      735 ILCS 5/12-1001(b)                                             $ 0.00            $ 80,000.00
Partnership

2000 Toyota Camry                                   735 ILCS 5/12-1001(c)                                       $ 2,400.00                $ 4,500.00
                                                    735 ILCS 5/12-1001(b)                                       $ 2,100.00

Computer and office equipment                       735 ILCS 5/12-1001(b)                                          $ 500.00                     $ 500.00




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* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Robert John Benditzky                                                                         ,                                    Case No. 12-29246
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:




                                                                 Value:
Account No:




                                                                 Value:
No continuation sheets attached                                                                                Subtotal $                           $ 0.00                          $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                        $ 0.00                          $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Robert John Benditzky                                                                              ,                             Case No. 12-29246
                           Debtor(s)                                                                                                                          (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
     507(a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
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In re Robert John Benditzky                                                                                         ,                                   Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                      Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0948
Account No:                                                         J    11/4/11                                                                                                        X              $ 13,300.00
Creditor # : 1                                                           Debt of corporation
Advanta Credit Cards                                                     Disputed personal liability of
PO Box 31032
Tampa FL 33631-3328                                                      Trident Investing LLC's debt




          5212
Account No:                                            X                 09/29/11                                                                                                       X              $ 48,161.03
Creditor # : 2                                                           Miscellaneous personal charges
Citibank, N.A.                                                           Personal liability for corporate
1000 Technology Dr.
O Fallon MO 63368-2240                                                   debt




Account No:     5212
Representing:                                                            Blatt,Hasenmiller,Leibsker,Moo
                                                                         125 S. Wacker Dr.
                                                                         Suite 400
Citibank, N.A.                                                           Chicago IL 60606



     4 continuation sheets attached                                                                                                                   Subtotal $                                       $ 61,461.03
                                                                                                                                                                      Total $
                                                                                 (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                         Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                       ,                                   Case No. 12-29246
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          83-3
Account No:                                                             3/1/06                                                                                                                      $ 320,832.00
Creditor # : 3
CitiMortgage
PO Box 6243
Sioux Falls SD 57117



          1365
Account No:                                                                                                                                                                                          $ 96,000.00
Creditor # : 4                                                          Mortgage foreclosure deficiency
CitiMortgage
PO Box 6243
Sioux Falls SD 57117



Account No:     1365
Representing:                                                           Trott & Trott
                                                                        341440 Northwestern Highway
                                                                        Ste. 200
CitiMortgage                                                            Farmington MI 48334



          6143
Account No:                                             X               July 21, 2011                                                                                                 X              $ 87,838.33
Creditor # : 5                                                          Mortgage foreclosure deficiency
CitiMortgage
P.O. Box 6243
Sioux Falls SD 57117



Account No:     6143
Representing:                                                           Trott & Trott: A PC
                                                                        341440 Northwestern Highway,
                                                                        Ste. 200
CitiMortgage                                                            Farmington MI 48334




Sheet No.      1 of        4 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 504,670.33
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                         ,                                   Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                      (Continuation Sheet)




         Creditor's Name, Mailing Address                                      Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8930
Account No:                                                         J    October 5, 2011                                                                                                X               $ 2,098.70
Creditor # : 6                                                           Utilities
City of Chicago                                                          Personal liability for corporate
8212 Innovation Way
Chicago IL 60682-0082                                                    debt (Trident Equities LLC)




Account No:                                             X                November 30, 2010                                                                                              X                   Unknown
Creditor # : 7                                                           Mortgage foreclosure deficiency
FirstMerit Bank N.A.                                                     Case #s 10 CH 50887, 10 CH 50891,
295 First Merit Circle Mtg. 25
Akron OH 44307                                                           10 CH 5900




Account No:

Representing:                                                            Ari J. Rosenthal
                                                                         300 S. Wacker Drive
                                                                         Suite 2450
FirstMerit Bank N.A.                                                     Chicago IL 60606



Account No:

Representing:                                                            Karen Halm-Lutterodt
                                                                         300 S. Wacker Drive
                                                                         Suite 2450
FirstMerit Bank N.A.                                                     Chicago IL 60606



Account No:                                                              Current balance                                                                                                               $ 68,699.00
Creditor # : 8                                                           Mortgage
IBM Lender Bus. Process Servic                                           Deficiency after foreclosure of
PO Box 4121
Beaverton OR 97076                                                       property




Sheet No.      2 of        4 continuation sheets attached to Schedule of                                                                              Subtotal $                                       $ 70,797.70
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                                 (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                         Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                       ,                                   Case No. 12-29246
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:

Representing:                                                           Seterus
                                                                        14523 SW Millikan Way #200
                                                                        Beaverton OR 97005
IBM Lender Bus. Process Servic



Account No:                                             X                                                                                                X                                          $ 103,510.00
Creditor # : 9                                                          Guarantee of corporate debt
JP Morgan Chase Bank
Bankruptcy Dept.
One First National Plaza
Chicago IL 60670


Account No:

Representing:                                                           Jay K. Levy & Associates
                                                                        PO Box 1181
                                                                        Evanston IL 60201-1181
JP Morgan Chase Bank



          2604
Account No:                                                                                                                                                                                         $ 107,000.00
Creditor # : 10                                                         Morgage forclosure defciency
PNC BANK, N.A.
2730 Liberty Ave.
P5-PCLC-A2-C
Pittsburgh PA 15222-4719


          0781
Account No:                                             X H             01/21/11                                                                                                      X              $ 93,267.63
Creditor # : 11                                                         Corporate debt
PNC BANK, N.A.                                                          Personal liability for corporate
2730 Liberty Ave.
P5-PCLC-A2-C                                                            debt/line of credit
Pittsburgh PA 15222-4719




Sheet No.      3 of        4 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 303,777.63
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                         ,                                   Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                      (Continuation Sheet)




         Creditor's Name, Mailing Address                                      Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3356
Account No:                                                         H    various                                                                                                                       $ 54,415.00
Creditor # : 12                                                          Corporate debt
ShoreBank k\n\a Urban
Partnership Bank
7054 S. Jeffery Blvd
Chicago IL 60649


Account No:




Account No:




Account No:




Account No:




Sheet No.      4 of        4 continuation sheets attached to Schedule of                                                                              Subtotal $                                       $ 54,415.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                                 (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 995,121.69
                                                                         Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                    / Debtor             Case No. 12-29246
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
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In re Robert John Benditzky                                                                   / Debtor         Case No. 12-29246
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor

Envision Equity Group, LLC                                                CitiMortgage
c/o Debtor                                                                P.O. Box 6243
                                                                          Sioux Falls SD           57117

John Bowers                                                               FirstMerit Bank N.A.
2049 W. Cullom Ave.                                                       295 First Merit Circle Mtg. 25
Chicago IL 60618                                                          Akron OH 44307

Robert Baron                                                              FirstMerit Bank N.A.
2218 W. Eastwood Ave.                                                     295 First Merit Circle Mtg. 25
Unit 1                                                                    Akron OH 44307
Chicago IL 60625

Trident Equities LLC                                                      Citibank, N.A.
Box 112                                                                   1000 Technology Dr.
781 S. Midlothian                                                         O Fallon MO 63368-2240
Mundelein IL 60060

                                                                          FirstMerit Bank N.A.
                                                                          295 First Merit Circle Mtg. 25
                                                                          Akron OH 44307

                                                                          JP Morgan Chase Bank
                                                                          Bankruptcy Dept.
                                                                          One First National Plaza
                                                                          Chicago IL 60670

                                                                          PNC BANK, N.A.
                                                                          2730 Liberty Ave.
                                                                          P5-PCLC-A2-C
                                                                          Pittsburgh PA 15222-4719




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In re Robert John Benditzky                                                                               ,                    Case No. 12-29246
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married



  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Real Estate Investor                                                     Teacher's Aide
  Name of Employer               Self                                                                     Rondout School
  How Long Employed              20+ years                                                                6 years
  Address of Employer            1520 Virginia
                                 Libertyville IL                  60048
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                            0.00 $                      1,796.00
  2. Estimate monthly overtime                                                                             $                            0.00 $                          0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                      1,796.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            0.00      $                     119.00
      b. Insurance                                                                                         $                            0.00      $                     333.00
      c. Union dues                                                                                        $                            0.00      $                       0.00
      d. Other (Specify):                                                                                  $                            0.00      $                       0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                          452.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                            0.00      $                 1,344.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                          550.00      $                 4,000.00
  8. Income from real property                                                                             $                            0.00      $                     0.00
  9. Interest and dividends                                                                                $                            0.00      $                     0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                            0.00      $                     0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify):                                                                                             $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                       550.00 $                      4,000.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                       550.00 $                      5,344.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  5,894.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Robert John Benditzky                                                                                   ,                           Case No. 12-29246
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                         0.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    500.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    420.00
                d. Other                                                                                                                                  $                        0.00
                  Other
                             ...................................................................................................................................................................
                                                                                                                                                          $                        0.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                     625.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     975.00
 5. Clothing                                                                                                                                         $                     350.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      40.00
 7. Medical and dental expenses                                                                                                                           $                     275.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     600.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                         0.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                     200.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                     125.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                     770.00
              c. Health                                                                                                                                  $                     230.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     175.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)       Real Estate Taxes                                                                                                                       $                 1,335.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:      charitable donation                                                                                                                    $                    200.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 6,820.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 5,894.00
      b. Average monthly expenses from Line 18 above                                                                                                      $                 6,820.00
      c. Monthly net income (a. minus b.)                                                                                                                 $                 (926.00)
